Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 1 of
                                     21




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    IN THE UNITED STATES DISTRICT COURT
    FOR THE DISTRICT OF COLORADO

    Civil Action No. 15-cv-01389-WYD-CBS

    ---------------------------------------------------

    Plaintiff(s):

    JEANNE STROUP
    and RUBEN LEE
                                                ^COURT USE ONLY^
    Defendant(s):
    UNITED AIRLINES, INC.
    ---------------------------------------------------
             VIDEOTAPE DEPOSITION OF RUBEN LEE, JR.
                            August 3, 2016
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                              303-721-1530
                                   EXHIBIT 1
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Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 2 of
                                     21




                                             Page 42                                                   Page 44
 1       Q You reviewed the complaint just now;            1   incentive pay?
 2   and I heard you say that you have read the            2       A     Not that I know of.
 3   complaint before today as well. Correct?              3       Q     Were you ever grieved at United?
 4       A Yes.                                            4       A     Grieve in what way?
 5       Q Are the allegations in the complaint            5       Q     Were any complaints made against you?
 6   correct?                                              6       A     I had a Letter of Charge for sick list
 7       A Yes.                                            7   back in the -- sick list and dependability back in
 8       Q Did you ever have any conflict with             8   the -- I believe it was '80s.
 9   co-workers at United?                                 9       Q     You had a Letter of Charge back in the
10       A Never.                                         10   1980s for what, sir?
11       Q Were you ever in a verbal or physical          11       A     Sick list and dependability.
12   altercation with any co-workers?                     12       Q     Other than that Letter of Charge, did
13       A No.                                            13   you ever have any complaints against you?
14       Q Did you ever have any conflict with a          14       A     Oh, there was a trip I worked as an
15   customer of United?                                  15   extra to San Francisco, I believe. I'm working
16       A No.                                            16   first class.
17       Q Were you ever in any verbal or physical        17            And there was a passenger in the
18   altercation with a customer of United?               18   back -- I remember seating him back in the back
19       A Truthfully, the only thing that comes          19   because I'm closing bins.
20   to mind: I'm flying a DC-10, Vegas to Denver. I      20            And the lady grabbed my attention over
21   had a very, extremely nervous passenger on board     21   on the right side and said, This lady is extremely
22   who kept complaining that someone was after him.     22   loud on her phone and cussing and everything else.
23           So as soon as we touched down in             23            So I didn't jump; I just listened. And
24   Denver, he bolted from his seat and was running      24   she totally was extremely profane. And this woman
25   towards the cockpit. At that time, I tackled him.    25   had a bunch of kids.

                                             Page 43                                                   Page 45
 1            That's the only contact I ever had with      1            And I asked her, Could you hold it down
 2   a passenger that's adverse.                           2   a little bit? And she just looked at me and
 3       Q     When was that?                              3   proceeded to do it again, even louder this time.
 4       A     I can't remember specific date.             4   So I asked her again, Will you replace refrain from
 5            But it was Vegas to Denver, DC-10. I         5   your language and -- and tone it down. So, of
 6   was sitting at the No. 4 -- Door 4.                   6   course, she didn't.
 7       Q     Was this before or after 9-11?              7            So I went and spoke to the purser.
 8       A     Way before.                                 8   They called Inflight -- Excuse me. They called
 9       Q     Were you ever demoted at United?            9   customer service; and supervisors came out, and
10       A     Never.                                     10   they took her off.
11       Q     Was your pay ever cut when you worked      11            And days later, a supervisor approaches
12   for United?                                          12   me and says that -- that incident on board -- I
13       A     Only during the bankruptcy.                13   told them my side and everything else.
14       Q     And during that time period, the pay to    14            And she says, Well -- She says, You
15   all flight attendants, regardless of age, was cut,   15   asked her for her phone number. And I'm, like,
16   correct?                                             16   Really?
17       A     This is correct.                           17            So I'm working first class. I didn't
18       Q     Did you ever do anything other than --     18   really have time to even -- or even begin to think
19   we're going to take the bankruptcy out of the        19   about it.
20   equation -- see your pay rise over time at United?   20            So they investigated it with the purser
21       A     With normal pay raises, yes.               21   out of San Francisco, that particular crew, and
22       Q     Did you ever receive any bonuses or        22   came to find out that the young lady who I was
23   incentive pay at United?                             23   working with -- excuse me -- where I was working in
24       A     On-time stuff, but everyone got that.      24   the back was standing right behind me and heard
25       Q     Were you ever denied any bonuses or        25   everything I said.


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                                                   EXHIBIT 1
                                                                                         31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 3 of
                                     21




                                             Page 54                                                    Page 56
 1   down while you're in the aisles?                       1       Q     (By Ms. Martinez) -- after you
 2       A Well, upon reading the FOAM (sic) on             2   returned -- Well, let me back up a little bit.
 3   that, it was brought to my attention. At that          3            When you took the iPad out, where did
 4   point before then, no, I didn't realize that.          4   you put it?
 5       Q Regardless of what's in the FAIM, isn't          5       A     Inside the cart.
 6   it fair to say it's kind of common sense not to        6       Q     Why?
 7   leave large objects not attached to the floor of a     7       A     There was a bit of water or something
 8   moving airplane when the seat belt sign has gone       8   on the -- on the counter, from what I remember.
 9   on?                                                    9   But I really didn't recall other than that why I
10       A I would say -- definitely say yes. Our          10   set it inside the cart. It was just easier, I
11   carts are not attached to the floor either when       11   guess. I don't know.
12   we're out in the aisle.                               12       Q     Wouldn't it be easier to just move the
13       Q What's heavier, a cart or the bin?              13   debris or dry the water?
14       A Definitely a cart.                              14       A     That's possible.
15       Q What do you consider the role of a              15       Q     Isn't the reason that you put it inside
16   flight attendant?                                     16   the cart because you didn't want anyone to see that
17       A Oh, wow. After 41 years of flying, we           17   you were watching a video on duty?
18   wear many hats. It can be a police officer; it can    18       A     No.
19   be a medic; it can be a babysitter; it can be a       19       Q     So the fact that you put the iPad in
20   schoolteacher. It can be everything: bartender;       20   the cart and kept it in the cart had nothing to do
21   you name it. We wear a lot of hats.                   21   with whether you thought you should be watching a
22             And, wow, I was really good at it.          22   video; is that your testimony?
23       Q Is there a primary purpose of a flight          23       A     Please rephrase the question -- or
24   attendant?                                            24   repeat the question, please.
25       A We're there for passenger safety, for           25       Q     The fact that you put the iPad in the

                                             Page 55                                                    Page 57
 1   sure; you know, that is encompassed in the whole       1   cart had nothing to do with whether or not you
 2   realm. Having the emergencies I've had --              2   thought you should be watching a video on duty?
 3   (Inaudible.)                                           3       A    Not at all.
 4           THE REPORTER: Pardon me?                       4       Q    At that point in time when you put the
 5       A     Having the emergencies that I've had         5   iPad in the cart, you thought it was perfectly okay
 6   over the years, yeah, safety is -- is monumental,      6   to be watching a video on duty?
 7   along with just about every other facet of the job.    7       A    Well, at that point, I didn't know that
 8       Q     (By Ms. Martinez) Is safety the              8   we couldn't watch videos or electronic devices at
 9   number-one concern of a flight attendant?              9   that moment or in that specific situation in time
10       A     It's right up there, yes.                   10   because everyone was on a flight, otherwise,
11       Q     If the number-one concern of a flight       11   everywhere across the whole system, wherever I
12   attendant is not safety, what is it?                  12   flew.
13       A     If the number-one concern of a flight       13       Q    Is it your testimony that it's an
14   attendant is not safety?                              14   excuse to break a rule if everybody's breaking a
15       Q     Yes. Then what is the number-one            15   rule?
16   concern?                                              16       A    Not at all, ma'am, no.
17       A     Oh, wow. Our passengers.                    17       Q    And you realize that there was a rule
18           I mean, from the moment they walk             18   against flight attendants using personal electronic
19   through that door, we're caring for them. And the     19   devices on flights as of September 20, 2013,
20   way I see them is brother, sister, mother, father.    20   correct?
21           Everything; you want to make sure that        21       A    After it was brought to my attention,
22   they have a good ride and get to Point A and          22   yes.
23   Point B safely.                                       23       Q    Well, wasn't it brought to your
24       Q     So --                                       24   attention when it was put in the FAIM?
25           THE DEPONENT: Bless you.                      25       A    Well, if I had -- maybe had read it


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                                                   EXHIBIT 1
                                                                                          31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 4 of
                                     21




                                             Page 58                                                    Page 60
 1   from cover to cover, yes.                              1      A       Uh-huh.
 2       Q    You would agree that the policy               2      Q       Yes?
 3   regarding personal electronic devices is clearly       3      A       Yes. I'm sorry.
 4   stated in the FAIM?                                    4      Q       And before the seat belt sign went on
 5       A    Yes, I do.                                    5   and you went into the aisle, how long had you
 6       Q    And you would agree that as a flight          6   watched the video?
 7   attendant it is your responsibility to know the        7      A       Maybe a total of four, maybe
 8   policies in the FAIM, correct?                         8   five minutes.
 9       A    Yes.                                          9      Q       So you've only watched this video a
10       Q    And as of September 20, 2013, you were       10   total of six or seven minutes on the flight?
11   responsible for knowing the policies in the FAIM,     11      A       Four to five minutes. It wasn't that
12   which included the policy against flight attendants   12   long.
13   using personal electronic devices during flight,      13            I know on the report it did state from,
14   correct?                                              14   like, 12:25 to 12:45, something of that nature.
15       A    After reading it, yes.                       15   But in that time, the seat belt sign was on and we
16       Q    So you go into the aisle; you come           16   were also, actually -- also working in the aisle.
17   back; and the carts are on the floor; and the         17            So the machine may have been on that
18   iPad's in the container, still on. Right?             18   time -- for that duration, but we were not sitting
19       A    The bins are on the floor.                   19   there watching it that total time -- that complete
20       Q    And the iPad is still on?                    20   time.
21       A    Yes.                                         21      Q       So after you watched it for a minute or
22       Q    What are you watching?                       22   two, what did you do?
23       A    Video.                                       23      A       We had a multitude of questions about
24       Q    Of what?                                     24   connections. We're late. Everyone had connection
25       A    I don't recall.                              25   questions; just questions.

                                             Page 59                                                    Page 61
 1      Q You have no recollection of what kind             1           And I was working with a Japanese,
 2   of video it was?                                       2   young lady who didn't understand English, and I
 3      A None whatsoever.                                  3   didn't understand Japanese; but we were able to
 4      Q How do you remember to go back to                 4   ascertain certain things about her trip: time,
 5   watching the iPad?                                     5   departure time, and all that to Japan.
 6      A It was still on.                                  6           And I called Bill and I called the
 7      Q Was the door to the cart open?                    7   cockpit to get gates for her; plus working with
 8      A I don't recall.                                   8   numerous other folks over here (indicating) who, as
 9      Q So as you approach the back of the                9   you're going up, you -- they have questions and
10   airplane, is there anyone in the aft galley?          10   questions and questions and questions about
11      A Not at that moment, no.                          11   connections.
12      Q Everyone's taken their seats from the            12           That's -- That's every day; that's
13   seat belt sign?                                       13   usual, especially when we're late. So I was busy
14      A As I recall, yes.                                14   with that; Jeannie was busy with it. People are
15      Q Okay. Then what do you do?                       15   wanting to know how soon we're going to be there,
16      A Watch the video for a -- or -- excuse            16   and are they going to make their connections?
17   me -- looked at the video for maybe two -- one or     17      Q So from the time that you watched the
18   two minutes.                                          18   video for one or two minutes until you landed, you
19      Q That's it?                                       19   were working on connection issues?
20      A Well, I don't know exactly the time,             20      A Picking up the cabin, getting ready for
21   but I know it was extremely short.                    21   descent. Yeah, we were -- we were extremely busy.
22      Q So as you've come back, you watch the            22      Q Did you ever admit to watching the
23   video for one or two minutes?                         23   video for 15 minutes?
24      A Uh-huh.                                          24      A No. I -- I admitted watching the
25      Q Right?                                           25   video.


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                                                   EXHIBIT 1
                                                                                          31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 5 of
                                      21




                                             Page 62                                                    Page 64
 1      Q     Did you ever hear Ms. Stroup during the       1   that what you're asking me?
 2   investigation say that she had never watched a         2       Q At any time during the flight.
 3   video before that September 20th flight?               3            It sounded to me like you were saying
 4      A     No.                                           4   when he came back to the aft galley, you said, Hey,
 5      Q     You knew that Ms. Stroup had watched          5   how are you? or something like that --
 6   videos before that September 20th flight, correct?     6       A Well, as I --
 7      A     On occasion.                                  7       Q -- but that was the only time you
 8      Q     And, in fact, you before September 20th       8   talked to him.
 9   had watched videos with Ms. Stroup, correct?           9       A I really don't remember talking --
10      A     Yes.                                         10   There might have been chitchat when we were -- when
11      Q     Before the September 20th flight, you        11   I was boarding -- when I was greeting; maybe a
12   and Ms. Stroup had on other occasions watched         12   little chitchat. That's about it.
13   videos on a personal electronic device, correct?      13       Q When do you believe his behavior became
14      A     Rarely.                                      14   odd?
15      Q     You had done that, correct?                  15            THE DEPONENT: Excuse me.
16      A     Yes.                                         16       A When he seemed -- seemed to be in the
17      Q     How many times?                              17   galley a little more than normal; meaning that I
18      A     I can't recall. It was very rare that        18   had told him that since September 11th that
19   we were watching it.                                  19   passengers are not allowed to loiter in our -- our
20      Q     Was it more than a dozen? Less than a        20   galleys, for safety reasons.
21   dozen? Can you estimate?                              21       Q (By Ms. Martinez) What's your
22      A     No, I can't.                                 22   definition of "loiter"?
23      Q     Why can't you estimate?                      23       A Standing there for an inordinate amount
24      A     It's been a long time. I mean, on            24   of time and just being there.
25   occasion we watched it.                               25       Q I thought passengers were allowed to be

                                             Page 63                                                    Page 65
 1      Q     What kind of things did you watch?            1   in the aft galley.
 2      A     Videos; we looked at, you know, family        2       A     When you're there more than you've used
 3   pictures, things of that nature.                       3   the bathroom and you've stretched and everything
 4      Q     On the iPad?                                  4   else -- I mean, they usually get back to their
 5      A     Yes.                                          5   seat.
 6      Q     Your iPad?                                    6       Q     I understand what you're saying, is
 7      A     Yes.                                          7   people usually go back to the seat. But aren't
 8      Q     Did she have an iPad?                         8   people allowed to be in the aft galley as
 9      A     No.                                           9   passengers?
10      Q     After the September 20, 2013 flight,         10       A     Yeah, for a while, of course. You
11   did you and Ms. Stroup ever watch a video together    11   know, you can stand back there and relax a little
12   again?                                                12   bit, you know; but when it goes past 10, 15,
13      A     After September 20th; that's what            13   20 minutes, whatever, it's -- it's time to go,
14   you're stating?                                       14   since 9-11 especially.
15      Q     Yes.                                         15       Q     Is that a rule or just your comfort
16      A     No.                                          16   level?
17      Q     Did you know anything about Deepesh's        17       A     No. I mean, I've talked to other
18   reputation at United?                                 18   flight attendants; and, basically, that's what they
19      A     No.                                          19   said, was that, you know, Since 9-11, you know,
20      Q     Do you recall other than that one time       20   you're not -- for our own safety, not allowed to
21   that he came back to the aft galley -- and you said   21   stay back here just doing nothing.
22   you had some kind of brief pleasantry exchange with   22       Q     So was Mr. Bagwe there ten minutes or
23   him -- ever having a communication where you spoke    23   more in the aft galley?
24   to Deepesh?                                           24       A     I -- As for a specific time, I can't
25      A     Before he came back to the galley; is        25   give you; but he was there for a long time.


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                                                                                          31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 6 of
                                      21




                                             Page 74                                                    Page 76
 1      A      (Deponent examined exhibit.)                 1   individuals who are no longer there.
 2           I think if I -- and Jeannie too -- were        2       Q    No longer where?
 3   bad employees, I could understand it.                  3       A    Not flying anymore.
 4           But with Mr. Bagwe being on board, I           4       Q    Based out of where?
 5   believe age has something to do with it. I mean,       5       A    Denver.
 6   I'm 41 years; Jeannie's 35.                            6       Q    In what position?
 7           If we were horrible employees, I can           7       A    Flight attendant.
 8   understand it. But with our records, no, no,           8       Q    Reporting to whom?
 9   because if what we had done was so bad, then -- or     9       A    Reporting to whom as to name?
10   he had heard that we had watched a video before,      10       Q    Who was their supervisor?
11   why didn't he come to us? why didn't he talk to us?   11       A    I have no idea.
12           Simply put: All he would have had to          12       Q    Do you know whether or not these
13   say is, You can't do that.                            13   individuals retired or had anything going on that
14      Q      What information and belief are you         14   would have caused them to leave?
15   relying upon, Mr. Lee, when you say that the          15       A    No. Just -- Just the rumor mill as
16   supervisor was scrutinizing you and Ms. Stroup        16   to, they were fired.
17   because of your age?                                  17       Q    Do you have any facts as to why they
18      A      That's just base- -- based on a             18   were actually fired?
19   feeling; I mean, it's -- it's based on a feeling.     19       A    Other than what I've heard, no.
20   I mean, we are older employees.                       20       Q    And what have you heard?
21      Q      Anything else?                              21       A    Just people disappear; no longer with
22      A      Not at the moment.                          22   us.
23      Q      Well, this is my only opportunity to        23       Q    Anything more specific than the rumor
24   question you --                                       24   mill has it that people have disappeared?
25      A      I understand.                               25       A    No.

                                             Page 75                                                    Page 77
 1       Q     -- before the trial, so -- This is a         1      Q      Have you, to your knowledge -- Have --
 2   very serious allegation that you're being treated      2            Have you or anyone else, to your
 3   differently because of your age.                       3   knowledge, tape-recorded any conversations that
 4           This is the only opportunity I have to         4   relate to your claims in this case?
 5   uncover if there is some fact or comment or            5       A     No.
 6   document or witness who you intend to bring forward    6       Q     Do you have any audiotapes of portions
 7   to say this shows --                                   7   or all of the three conferences?
 8       A     Well --                                      8       A     No.
 9       Q     -- that there was scrutiny because of        9       Q     What is the new method of cart setup
10   my age.                                               10   that you pioneered?
11           Is there anything else that would show        11       A     I was flying Jumbos a lot in -- early
12   you were scrutinized, as you've alleged here,         12   in my career. And the four-star service was bland
13   because of your age other than your feeling?          13   at that time, and I --
14       A     (Deponent examined exhibit.)                14       Q     Bland?
15           I would have to go by what I had --           15       A     Bland; bland; just bland. It was just
16   have heard through the rumor mill of flight           16   napkins and froufrou stuff, you know; nothing
17   attendants. Some older people had disappeared.        17   really had any color or -- or decoration whatever.
18           I mean, I had been there a long time.         18            And I would tear it up and take bananas
19   And for me, I feel it was based upon my age; that's   19   and make strawberries flowing into a bin of -- or a
20   totally and sincerely how I feel.                     20   pool of, you know, blue water and smoke and
21           As for documentation or -- to back it         21   everything else.
22   up, I'm just going with what's in my                  22            And I always worked for a lady named
23   heart (indicating).                                   23   Sara Hansen. She just -- She was really senior,
24       Q     Who are the people who disappeared?         24   and she liked flying with younger flight
25       A     I can't bring names to date (sic), but      25   attendants. And she always wanted me to work pit.


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 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 7 of
                                      21




                                             Page 78                                                    Page 80
 1            So there was a special charter; and           1      committed comparably trivial infractions to
 2   they asked me to be part of this charter with execs    2      theirs . . ."
 3   from Exx- -- Exxon -- excuse me -- and                 3           Who are these "similarly situated,
 4   Standard Oil. There was only 20 of them. And           4   mostly younger coworkers," if you know?
 5   their ties were, you know, just standard ties.         5      A By name, no.
 6   They were -- They were finance guys.                   6           There's a lot of jump-seat news out
 7            And Eddie Carlson put on some Havana          7   there when you're riding -- or working a trip, and
 8   cigars, and we had 1921 Pouilly-Fuisse and             8   especially with different domiciles and stuff. And
 9   Chateau Margaux.                                       9   people pour their hearts out, especially if they've
10            And I got to go twice out of all the         10   been what they deem as being wronged or whatever in
11   flight attendants that they selected. And we          11   whatever given situation, whatever grievance they
12   trained the entire JFK domicile at JFK. It was        12   might have had or whatever.
13   awesome.                                              13           But you hear all this stuff, and you
14       Q     What year, approximately, was that?         14   pay attention to it. That's just the rumor mill;
15       A     '74/'75.                                    15   that's what's out there.
16       Q     Did that come up during the                 16      Q Is "jump-seat news" the rumor mill?
17   investigatory process?                                17      A No. It's when you're sitting on a jump
18       A     No.                                         18   seat and you're flying with somebody else; you
19       Q     Specifically, do you know whether or        19   don't know them, but you talk.
20   not that had anything to do with the deliberations    20      Q And you rely on what they say?
21   that were going on?                                   21      A I guess to an extent; but in most
22       A     During the investigative process?           22   cases, there's no reason to doubt them if it's
23       Q     Yes.                                        23   something that happened to that particular
24       A     I don't think it was even considered.       24   individual, no.
25       Q     Does that allegation -- I was looking       25      Q Have you ever heard anything untrue

                                             Page 79                                                    Page 81
 1   at Paragraph 29. Does that allegation have             1   through the jump-seat news?
 2   anything to do with whether or not you were let go     2       A    Well, of course, there are things that
 3   from United?                                           3   are untrue. But, you know, one has to ascertain
 4       A     (Deponent examined exhibit.)                 4   what is to believe, you know, be thought of as
 5            (Inaudible.)                                  5   being true, or if you've heard it more than one
 6            THE REPORTER: I'm sorry?                      6   time, or . . .
 7       A     From this one here (indicating), 29?         7       Q    You're not going to ask a court of law
 8       Q     (By Ms. Martinez) Yes.                       8   to consider jump-seat news or what somebody told
 9       A     And your question again?                     9   you on a plane to be proof, are you, Mr. Lee?
10       Q     Does this allegation have anything to       10       A    No. That's something -- No.
11   do with whether or not you were let go from United?   11       Q    What trivial infractions did they
12       A     No.                                         12   commit?
13       Q     Does it have anything to do with            13       A    Oh, my gosh. The individual in
14   whether or not you were subjected to age              14   question?
15   discrimination?                                       15       Q    If you know.
16       A     Then? Or now with the hearings; is          16       A    I don't know at the moment.
17   that what you're saying?                              17       Q    You in the next line reference "mostly
18       Q     At any time. I heard you say it didn't      18   younger [flight attendants] who committed far more
19   come up in the hearings.                              19   serious rule violations."
20       A     It didn't. No.                              20           What is the age of those individuals,
21       Q     Please turn to Paragraph 97 of your         21   "mostly younger"?
22   complaint. The first two lines read:                  22       A    (Deponent examined exhibit.)
23            "United treated Mrs. Stroup and              23           20s, 30s.
24       Mr. Lee more harshly than their similarly         24       Q    Do you have an age cutoff in mind?
25       situated, mostly younger coworkers who            25       A    40.


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                                     303-721-1530
                                                   EXHIBIT 1
                                                                                          31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 8 of
                                      21




                                             Page 82                                                    Page 84
 1       Q     Why is that?                                 1           Do you see that?
 2       A     Well, in most cases when you're              2      A     (Deponent examined exhibit.)
 3   considered as being old.                               3           Uh-huh. Yes.
 4       Q     Age-protected?                               4       Q Who are the United supervisors you're
 5       A     No. I just -- It -- It could be 54.          5   referring to?
 6   I'm not sure exactly the -- the number for the age     6       A I can't bring names or remember names.
 7   protection; but it was usually younger flight          7           (Deponent examined exhibit.)
 8   attendants.                                            8       Q Who are the older flight attendants
 9       Q     And when it was "usually younger flight      9   you're referring to?
10   attendants," that means it wasn't always younger      10       A People our seniority and older.
11   flight attendants, correct?                           11       Q Do you have any names that you're
12       A     Correct.                                    12   referring to in that allegation?
13       Q     So there was some flight attendants         13       A No, I do not.
14   over the age of 40 who committed far more serious     14       Q How would you know if United
15   rule violations than you and Ms. Stroup and were      15   supervisors were exclusively positioned on the
16   treated less harshly, correct?                        16   flights of older flight attendants? Is that
17       A     You said "less harshly" or "more            17   jump-seat news?
18   harshly"?                                             18       A No, it is not jump-seat news. It's --
19       Q     Less harshly than you.                      19           THE VIDEOGRAPHER: Careful.
20       A     There have been some that were treated      20           THE DEPONENT: Whoops. I'm sorry.
21   less harshly than us, yes.                            21   Sorry, Jay.
22       Q     Who were also age-protected, correct?       22           THE VIDEOGRAPHER: It's all right.
23       A     Younger.                                    23           THE DEPONENT: I'm rolling back and
24       Q     Excuse me?                                  24   forth here. My apologies.
25       A     I would say younger.                        25           THE VIDEOGRAPHER: That's okay.

                                             Page 83                                                    Page 85
 1       Q But you write, "mostly younger" flight           1           THE DEPONENT: Would you repeat the
 2   attendants --                                          2   question? Thank you.
 3       A Uh-huh.                                          3           Sorry, Jay.
 4       Q -- meaning there are some who are                4           THE VIDEOGRAPHER: That's okay.
 5   age-protected --                                       5           THE DEPONENT: Sorry.
 6       A Uh-huh.                                          6           THE VIDEOGRAPHER: I'm not sure
 7       Q -- who were also treated less harshly            7   what . . . It was here all night.
 8   than you --                                            8           THE DEPONENT: Can . . .
 9       A Uh-huh.                                          9           MS. MARTINEZ: Let's re-ask the
10       Q -- correct?                                     10   question. Then we'll take a break.
11       A You're correct.                                 11           (The following record was read:
12       Q Do you consider yourself to be a fairly         12            "Q How would you know if United
13   accurate estimator of individuals' age?               13             supervisors were exclusively
14       A Not a professional; but, yes.                   14             positioned on the flights with older
15       Q Why is that?                                    15             flight attendants? Is that jump-seat
16       A I guess it's just age and trying to pay         16             news?")
17   attention. I don't get it right all the time, but     17           THE DEPONENT: Thank you.
18   I'm okay.                                             18      A It's just when people that I have flown
19       Q At Page 101 of your complaint --                19   with and -- and have been told that. As to their
20   Excuse me.                                            20   names, I cannot say; as to their domiciles either.
21           At Page 15, Paragraph 101 of your             21      Q (By Ms. Martinez) So someone told you
22   complaint, five lines down, there's a phrase,         22   that they had been working on a flight where United
23   quote: where United supervisors exclusively would     23   supervisors were exclusively positioned?
24   be positioned on the flights worked by older flight   24      A Or they just had a ghost rider.
25   attendants.                                           25      Q Did you ever ask younger employees


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                                     303-721-1530
                                                   EXHIBIT 1
                                                                                          31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 9 of
                                      21




                                             Page 90                                                  Page 92
 1   buyout and retire leaves a lot of money left over,     1      Q Dean Whittaker?
 2   basically, for hiring or, you know, taking on          2      A Yes.
 3   others at lower pay.                                   3      Q Okay. Do you know if anyone else was
 4      Q     Were you aware of any hiring freezes of       4   involved in that decision?
 5   Denver flight attendants in the final years of your    5      A Mark Dodge possibly; I'm not sure.
 6   employment?                                            6      Q Why do you say "possibly; I'm not
 7      A     Specifically, datewise, I don't know;         7   sure"?
 8   but there were some freezes.                           8      A Well, I don't know if they sat down
 9      Q     Do you recall a freeze in 2013?               9   together and talked and had a conference and
10      A     No, I do not.                                10   decided that they're going to fire Ruben.
11      Q     Did you ever see an influx of mostly         11      Q Okay. Anyone else?
12   younger flight attendants?                            12      A No.
13      A     During what time?                            13      Q When was the first time you had any
14      Q     At any time.                                 14   interaction with Dean Whittaker?
15      A     Of younger?                                  15      A The day of the last hearing. I had
16      Q     Yes.                                         16   never met him before.
17      A     Yes. When United would hire, they were       17      Q November 5, 2013?
18   very noticeable because they were so young in         18      A I believe. I'm not sure.
19   comparison to the population.                         19      Q Did you know anything about Dean
20      Q     Which was what?                              20   Whittaker before the hearing or conference on
21      A     What are you asking?                         21   November 5th?
22      Q     What was the population?                     22      A Nothing.
23      A     In Denver?                                   23      Q Had you heard anything about his
24      Q     Yes.                                         24   reputation --
25      A     It depends on what year.                     25      A No.

                                             Page 91                                                  Page 93
 1       Q     The last few years.                          1      Q -- at United?
 2       A     I would have to say that, again, you         2      A No.
 3   notice the new employees because they stood out;       3      Q Do you know whether or not he
 4   they were a lot younger.                               4   discriminates against individuals over age 40?
 5            That's how I can ascertain that too.          5      A No.
 6   You know the older group that you see here and now     6      Q Besides that November 5th meeting, did
 7   in the domicile. And then all of a sudden, you         7   you have any communications with Dean Whittaker?
 8   have some new blood there; it's, like, wow.            8      A No. That was the first time I had
 9       Q     How many younger employees were hired        9   met -- really had met him.
10   as flight attendants in United's Denver location      10      Q So you go into the meeting with
11   the last few years of your employment?                11   Mr. Whittaker on November 5th having no
12       A     I do not know.                              12   communications whatsoever with him?
13       Q     Can you estimate?                           13      A No.
14       A     I cannot.                                   14            THE DEPONENT: Bless you.
15       Q     Can you give me an idea of what             15      A Actually, I was sitting out waiting for
16   percentage of the population that was, new hires?     16   the meeting; and he came up --
17       A     I cannot.                                   17      Q (By Ms. Martinez) Okay.
18       Q     Are you aware of any flight attendants      18      A -- and introduced himself. That was
19   besides Mrs. Stroup and you who supposedly were       19   the first time, Meghan, I'd seen him, yes.
20   targeted because of their age?                        20      Q Fair enough. And then you go in and
21       A     No.                                         21   you have the November 5 conference with him,
22       Q     Who made the decision to terminate          22   correct?
23   your employment -- as you're calling it a             23      A Yes, ma'am.
24   "termination" -- at United?                           24      Q Do you have any communications with
25       A     Dean.                                       25   Mr. Whittaker after the conference ends on


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                                     303-721-1530
                                                   EXHIBIT 1
                                                                                         31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 10
                                     of 21




                                             Page 98                                                  Page 100
 1   because of strict enforcement of the --                1   representative, to guide you through the
 2       A     No.                                          2   investigatory process, correct?
 3       Q     -- rules?                                    3      A Correct.
 4       A     I feel it's my age -- I'm sorry --           4      Q And that included Mr. Kyle's advice and
 5   because with the allegations that they have against    5   guidance as to what your options were as of
 6   me, a lot of them are very trivial.                    6   November 2013, correct?
 7       Q     Were the infractions committed?              7      A Some of my options, yes.
 8       A     Some.                                        8      Q Is it possible, Mr. Lee, that you could
 9       Q     What's your belief as to why you were        9   have grieved a termination if you had been
10   not discriminated against after you turned 40 at      10   terminated?
11   United? Because how many years did you work           11           THE DEPONENT: Excuse me. Whoops.
12   between the time you turned 40 and 2013?              12   Sorry.
13       A     Until when I was forced to retire? Was      13      A Yes, I could have.
14   it 21 years?                                          14           But the way Ken -- Because I asked him
15       Q     So you were age what at the time of         15   what my options were. And he said, Well, you could
16   your separation?                                      16   grieve it, like 30 days. You wouldn't be employed,
17       A     61.                                         17   so you would be making no money whatsoever. It
18       Q     Why do you believe United did not do        18   could be expensive and extremely stressful.
19   anything to impact your employment because of your    19           And that was the advice that he -- the
20   age if you'd been over age 40 for 21 years?           20   advice that he gave me at that time.
21       A     I think at age 40 they took more value      21      Q (By Ms. Martinez) So before you
22   in their -- their -- their -- their employees.        22   submitted your on-line resignation November 18 --
23   That could be CEO-wise or what the whole general      23   to be effective November 18, 2013, Mr. Kyle did
24   landscape of the company is; but they took a lot      24   inform you of options to resigning?
25   better care of us back then.                          25      A Actually, that wasn't an option. That

                                             Page 99                                                  Page 101
 1      Q Who's "they"?                                     1   did -- That would not help me in the least at that
 2      A The company.                                      2   point.
 3      Q Who's "us"?                                       3      Q     It was something you could have done,
 4      A Flight attendants and the rest of the             4   correct?
 5   employees.                                             5      A     Could have.
 6      Q Were you a member of the union in 2013?           6      Q     Yes.
 7      A Uh-huh.                                           7      A     Yes.
 8      Q Yes?                                              8      Q     You had the right to union
 9      A Yes.                                              9   representation through the grievance process,
10      Q What union?                                      10   correct?
11      A AFA.                                             11      A     Correct.
12      Q What rights or privileges does that              12      Q     And that was paid for through your dues
13   give you as a flight attendant?                       13   with the AFA, correct?
14      A Well, the collective bargaining                  14      A     Yes.
15   agreement; you know, that's all in there. I mean,     15      Q     If you had been reinstated through a
16   that's what we go by.                                 16   grievance, isn't part of the collective bargaining
17      Q So you had the benefits of the                   17   agreement that you are then made whole, including
18   collective bargaining agreement between the AFA and   18   back pay?
19   the company as of November 2013, right?               19      A     As I understand it.
20      A Yes, ma'am.                                      20      Q     Are you aware of any employees at
21      Q And one of those benefits is that you            21   United who have been terminated and grieved their
22   had union representation as of September, October,    22   termination?
23   and November 2013, correct?                           23      A     No.
24      A Correct.                                         24      Q     Do you know who the decision-maker
25      Q That included Ken Kyle, an AFA                   25   would have been if you had grieved a termination?


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                                      303-721-1530
                                                   EXHIBIT 1
                                                                                          31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 11
                                     of 21




                                           Page 102                                                  Page 104
 1       A    No.                                          1      A     (Deponent examined exhibit.)
 2       Q    What is the impact of a Letter of            2           Yes. Yes.
 3   Charge, to your understanding?                        3      Q     Please look at the bottom of Page 7.
 4       A    It's a severe level next to                  4      A     Okay.
 5   termination.                                          5      Q     There's a Subpart (a) --
 6       Q    It's a severe level of what?                 6      A     Yes.
 7       A    Discipline.                                  7      Q     -- that reads:
 8           THE DEPONENT: Sorry.                          8           "In 1993, I received a Letter of
 9       Q    (By Ms. Martinez) Don't you describe a       9      Charge regarding my attendance due to
10   Letter of Charge as not being discipline?            10      illness."
11       A    Oh, excuse me. I'm sorry. My --             11           Do you see that?
12   Strike that, please. I'm sorry.                      12      A     Yes.
13           There's certain levels, of course: a         13      Q     Then the last sentence on that page
14   Letter of Charge; and then after Letter of Charge,   14   reads: "I was not disciplined."
15   it could be possible suspension or termination.      15      A     Uh-huh.
16       Q    So what do you understand the levels to     16      Q     Do you see that?
17   be from lowest to highest?                           17      A     Yes.
18       A    There's, you know, decision --              18      Q     So you understood that a Letter of
19           As to the exact -- Because I'm not --        19   Charge was not discipline, correct?
20   I'd never really been in trouble. I'm not exactly    20      A     At this moment, yes. Okay.
21   sure what those levels are other than what I read    21      Q     Let's look at your answer that starts
22   months ago in the AFA, Your Rights as an Employee.   22   on Page 4. There's a paragraph that reads:
23       Q    Is it true, though, that a Letter of        23           "With regard to the policies that
24   Charge is not discipline?                            24      were purportedly in effect at the time of
25       A    No. It's a precursor to discipline,         25      the investigation which United Airlines

                                           Page 103                                                  Page 105
 1   isn't it?                                             1       claims I violated" --
 2        Q     That's my understanding, that --           2            You then added a parenthetical that you
 3        A     Okay.                                      3   don't admit to violating all of them.
 4        Q     -- that a Letter of Charge is not          4       A     Uh-huh.
 5   discipline. Is that your understanding?               5       Q     I'm going to ask you to take the red
 6        A     You just said that it's your               6   pen (indicating), Mr. Lee, and put a check next
 7   understanding that it is -- it is not discipline;     7   to --
 8   it's just the Letter of Charge. Is that what          8            THE DEPONENT: Thank you, Laurie.
 9   you're asking me?                                     9       Q     (By Ms. Martinez) -- policies that you
10        Q     Yes. I'll -- I'll restate it              10   do admit to violating.
11   precisely: Is a Letter of Charge discipline?         11       A     That I do admit to violating?
12        A     I think it is -- it is a letter that's    12       Q     Yes, please.
13   a precursor to what the next step is. It's           13       A     Thank you.
14   indicating that you received a Letter of Charge;     14            (Deponent examined exhibit.)
15   you're going to be disciplined for this nature, or   15            (Deponent complied.)
16   you're going to be terminated or suspended.          16            On the bins, there's nothing -- Where
17        Q     But the Letter of Charge itself is not    17   is that located on here?
18   discipline, correct?                                 18       Q     Meaning you should not have had the
19        A     Not until it progresses further.          19   bins down?
20             (Exhibit 23 marked.)                       20       A     Meaning I don't see it on here.
21             THE DEPONENT: Thank you, Laurie.           21            The one that I . . . You want to know
22   Thank you.                                           22   the ones I put the checks by?
23        Q     (By Ms. Martinez) You've been handed      23       Q     I will look at the ones you have checks
24   what's marked as Exhibit 23. Do you recognize that   24   by.
25   document, Mr. Lee?                                   25            But I just want to make sure we have


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                                     303-721-1530
                                                  EXHIBIT 1
                                                                                         31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 12
                                     of 21




                                            Page 106                                                     Page 108
 1   a -- anything that you admit to violating checked.     1   asking?
 2   And you can actually write "bin," and then just put    2       Q      From anyone.
 3   a check next to it --                                  3       A      It's pretty broad.
 4       A Okay.                                            4            I don't even remember this. Letter of
 5       Q -- because I don't think it's in there.          5   Warning? I don't remember this.
 6       A (Deponent examined exhibit.)                     6       Q      Do you dispute that you had an
 7            Okay.                                         7   Attendance Letter of Warning in 2009?
 8            MS. MARTINEZ: May I see it?                   8       A      I don't recall I had an attendance
 9            (Deponent handed exhibit to                   9   letter in 2009.
10             Ms. Martinez.)                              10       Q      Was this letter discussed during the
11       Q (By Ms. Martinez) And the use of bins           11   disciplinary process -- excuse me -- during the
12   is not listed here, correct?                          12   investigatory prog- -- process?
13       A I'm not seeing it.                              13       A      I don't know there was even an
14       Q Okay. Can you just write "bin."                 14   investigative process. I -- Again, I don't
15            And then I'm also not sure if there's        15   remember this totally. I'm sorry.
16   two or three checkmarks. Is that third                16       Q      Was this attendance issue and the
17   one (indicating) checked or not?                      17   letter, or as described here, brought up in 2013
18       A The third one is the full cans of soda.         18   when you were under investigation for the
19   That is checked.                                      19   September 20th flight?
20            (Deponent examined exhibit.)                 20       A      That, I don't know because this -- this
21            Personally, if the bins aren't on here,      21   is the first time this has ever surfaced for me.
22   I'm not going to write it on. Okay?                   22       Q      Having reviewed this, do you recall why
23       Q Okay. And -- And you recognize that             23   you had an attendance issue?
24   that is one thing that was a violation during the     24       A      I don't think there's an attendance
25   flight?                                               25   issue.

                                            Page 107                                                     Page 109
 1     A      (Deponent examined exhibit.)                  1      Q       How would you describe it?
 2          Excuse me. I'm sorry.                           2      A       I went on sick list. I was sick,
 3          (Deponent complied.)                            3   so . . .
 4          So the circle with the X and "Bins" is          4            That's all I can remember. I didn't
 5   admitting to. Okay?                                    5   miss a trip or, I mean, do the -- just missing the
 6       Q    Okay. The name Patricia Careeno, have         6   trip. I actually was on sick list.
 7   you heard that before today?                           7            (Deponent examined exhibit.)
 8       A    No.                                           8            Oh. I'm not exactly sure or exactly
 9       Q    Are you aware of any other individuals        9   correct, but I think I had prostate cancer about
10   who were flight attendants at United and who were     10   this time (indicating).
11   under investigation in any way related to use of      11       Q     You're not sure if -- if that had
12   personal electronic devices?                          12   anything to do with that letter?
13       A    No.                                          13       A     I'm -- I'm not sure, again.
14          (Exhibit 24 marked.)                           14            Meghan, I'm -- excuse me -- I'm
15          THE DEPONENT: Thank you, Laurie.               15   trying -- trying to remember because I see Steve
16       Q    (By Ms. Martinez) You've been handed         16   Zitnak (indicating); and he wasn't always my
17   what's marked as Exhibit 24. Do you recognize this    17   supervisor.
18   document?                                             18            (Deponent examined exhibit.)
19       A    (Deponent examined exhibit.)                 19            And I believe this is when I had
20          2009? No, I don't recognize it.                20   prostate cancer.
21   Sorry. I don't recognize it; I don't even remember    21       Q     And did you miss work?
22   it.                                                   22       A     I was on sick list for, like, a month.
23       Q    Did you receive this document?               23       Q     Okay. Were you ever disciplined as a
24       A    (Deponent examined exhibit.)                 24   result of this?
25          From my supervisor; is that what you're        25       A     Other than just -- not specifically;


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                                     303-721-1530
                                                   EXHIBIT 1
                                                                                            31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 13
                                     of 21




                                           Page 114                                                   Page 116
 1   that just messed up, not professional. They needed    1   assignments.
 2   somebody they could trust, and they selected me.      2            They wanted a flight attendant's view
 3       Q     How old were you?                           3   on the scheduling side of things because the
 4       A     30s.                                        4   schedule seemed to be -- (Inaudible.)
 5           In other words, they wanted somebody          5            THE REPORTER: The schedule seemed to
 6   they could depend on that wouldn't goof up and do     6   be . . .
 7   the right thing.                                      7       A     The schedule seemed to be a little
 8       Q     What year was this?                         8   callus as to being able to connect with the flight
 9       A     Between the '80s and '90s. It was           9   attendants. So they thought if we had a flight
10   two -- two Super Bowls. Haven Moses. Yes, yes.       10   attendant on that side, it would help; and it did.
11   It was two Super Bowls.                              11       Q     (By Ms. Martinez) Is it true that you
12       Q     What is the Domicile Achiever Award?       12   did not file a complaint of age discrimination
13       A     I flew purser on Jumbos a lot: DC-10s,     13   while you were employed at United?
14   747s. I was acknowledged for that, for my work.      14       A     Repeat that, Meghan, please.
15       Q     When was this?                             15       Q     Is it true that you did not file a
16       A     I want to say '80, '85, somewhere in       16   claim of age discrimination while you were employed
17   that area.                                           17   at United?
18       Q     Did you bring this up when you were at     18       A     That is true.
19   the hearing?                                         19       Q     Is it true that you did not complain of
20       A     No. They knew of it.                       20   age discrimination while you were employed at
21       Q     How do you know that?                      21   United?
22       A     They had my records, just as they're       22       A     That is true.
23   here today.                                          23       Q     Why didn't you?
24       Q     Do you know whether anyone read the        24       A     I wasn't being mistreated.
25   full extent of your personnel record?                25       Q     Do you believe that Ken Kyle

                                           Page 115                                                   Page 117
 1      A      Honestly, I don't know because Dean         1   discriminated against you based on your age?
 2   didn't know me.                                       2       A     My union rep? No.
 3      Q      Do you know whether or not United is        3       Q     Why not?
 4   supposed to take into account awards you've won in    4       A     I just don't.
 5   deciding whether or not to issue discipline?          5       Q     Is there a particular age that you
 6      A      I can't say "supposed to take into          6   believe United was targeting for trying to get rid
 7   account," Ms. Martinez.                               7   of their flight attendants at?
 8            But 41 years, yeah; I would think that       8       A     Just older, Ms. Martinez.
 9   would be a consideration, yes, definitely.            9       Q     Anyone age 40 and over, or was it 50
10      Q      I hear your testimony that you would       10   and over or 60 and over?
11   think it was a consideration.                        11       A     That's a good question.
12            But my question is: Are you aware of        12            When you're out there in the ranks and
13   any rule or requirement that United consider the     13   you see who you're flying with -- because this is
14   length of employment if someone has violated the     14   what you can hold -- okay? -- and I was senior; you
15   rules?                                               15   held good trips; you earned good trips -- those
16      A      No, I do not know of a rule.               16   people were 50 and -- and -- and older.
17      Q      In 1984 you were selected for special      17       Q     Is there a particular age that you
18   assignment as supervisor of Inflight Crew            18   believe United was trying to get rid of their
19   Resources; is that true?                             19   flight attendants at?
20      A      Yes.                                       20       A     No.
21      Q      What allowed you to be selected for        21       Q     How were you assigned supervisors?
22   that?                                                22       A     Back in the day, they used to do it
23      A      They wanted somebody who was highly        23   with your last name, your initial.
24   visible. I did a lot of special assignments; I was   24       Q     Which supervisors do you recall having
25   asked to do a lot of special -- special              25   and when?


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                                     303-721-1530
                                                   EXHIBIT 1
                                                                                         31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 14
                                     of 21




                                            Page 154                                                   Page 156
 1      A      I had taken it out of my pocket in           1   smoking an electronic signa- -- cigarette on the
 2   preparation to put it in my bag. The seat belt         2   September 20th flight that you would have been
 3   sign came on. I ushered Mr. Bagwe forward because      3   violating United policies?
 4   he was hanging around.                                 4      A Oh, absolutely. I knew it was a no-no.
 5           And as we were going by the bathroom, I        5   And I didn't smoke an electronic cigarette that day
 6   was setting it on the counter in my right hand.        6   or any other day.
 7   And he leans back (indicating) -- because he didn't    7      Q Would you agree that you would also be
 8   know what was in my hand -- to take a look. And I      8   violating Federal law if you were smoking an
 9   asked you (sic), May I help you?                       9   electronic cigarette?
10           So he never saw anything in my hand.          10      A Oh, absolutely.
11   He just thought there was something there. I was      11           THE VIDEOGRAPHER: Will you move over.
12   not smoking it blatantly or anything like that.       12           THE DEPONENT: Oh, sorry.
13           I took it out of my pocket, was getting       13           (Exhibit 27 marked.)
14   ready to put it in my bag; the seat belt sign came    14           THE DEPONENT: Thank you, Laurie.
15   on; laid it on the counter next to some debris,       15      Q (By Ms. Martinez) I've handed you a
16   whatever was there.                                   16   one-page document marked Exhibit 27. This is a
17      Q      Why didn't you just take it out of your     17   paragraph Deepesh submitted about your smoking in
18   pocket and put it in your bag?                        18   the aft galley. Midway down, he says that at 12:25
19      A      Because the seat belt sign came on. I       19   you were "smoking a cigarette in the aft galley."
20   had to go check seat belts.                           20           Is that -- Excuse me. Is that true or
21      Q      Why couldn't you put it in the bag and      21   not?
22   then go check seat belts?                             22      A That is absolutely not true.
23      A      My bag was in my storage area.              23      Q Okay. And he says:
24      Q      Why didn't you leave it in your pocket?     24           "It did not create a lot of smoke as
25      A      Because it was in my hand. Seat belt        25      it was an electronic" signature --

                                            Page 155                                                   Page 157
 1   sign came on. I walked up, put it on the               1       "cigarette." Excuse me. "Ruben smoked for
 2   counter (indicating), and I walked forward.            2       [a] very brief moments . . ."
 3       Q    But why didn't you just put it back in        3            Is it true that you smoked for very
 4   your pocket?                                           4   brief moments?
 5       A    There was no time. I had to check seat        5       A No.
 6   belts.                                                 6       Q Is it true that you left the cigarette
 7       Q    But you pulled it out of your pocket;         7   on the galley counter?
 8   then the seat belt sign came on?                       8       A Yes, it is.
 9       A    No. I pulled it out of my pocket              9       Q Is it --
10   before the seat belt sign came on in preparation of   10       A Can I -- May I say -- I'm sorry.
11   putting it back in my bag.                            11            This says it's dated September 21st.
12           When the seat belt sign comes on, you         12   The first e-mail that went to Mark Dodge was on the
13   have to check seat belts; so there's no time to put   13   20th; so this was an afterthought.
14   it in my bag. So I laid it on the counter out of      14       Q Well, that may be your characterization
15   the way of -- out of the view of everyone else, and   15   of it, Mr. Lee; but that's not the question that's
16   I went forward and did my -- my -- my seat belt       16   pending.
17   check.                                                17       A Okay.
18       Q    So it was in your hand for how long          18       Q There is a statement here that you were
19   before it was on the counter?                         19   "boldly smoking in front of the customers" waiting
20       A    30 seconds.                                  20   for the restroom breaks. Is that true?
21       Q    And then it was on the counter for how       21       A That is very untrue.
22   long?                                                 22       Q Okay. So is it your testimony that
23       A    After I came back from checking my seat      23   anything that is added to an initial statement is
24   belts.                                                24   an afterthought?
25       Q    Do you agree that if you had been            25       A No, no, no, no, no.


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                                                   EXHIBIT 1
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 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 15
                                     of 21




                                            Page 166                                                   Page 168
 1   that is not correct. I have watched movies before,     1   has come in about them, yes.
 2   rarely.                                                2      Q When is the first time that you became
 3            But, again, that's what came to mind.         3   aware of any concerns with your job performance on
 4       Q Are you familiar with the concept of             4   the September 20th flight?
 5   unannounced excellence reviews?                        5      A Oh, as soon as Mr. Mark called me; I
 6       A Yes, I am.                                       6   think it was 9-25.
 7       Q When did you first become aware of               7      Q Sorry. But I need to go back to 28.
 8   those?                                                 8   I'm not sure I can read all your writing.
 9       A Well, the -- On the line, they're                9            Can you just read from 12:50 down for
10   called "ghost rides." Okay? And I've had many of      10   me, please, for the record.
11   them, like all of us have.                            11      A 12:50. (Inaudible.)
12            But they told you what you did right,        12            THE REPORTER: I'm sorry?
13   first of all; and if you might have done something    13      A Called Bill and told him that the lavs
14   not up to par, they told you then as well.            14   were inop. Placed a sign -- We placed a sign
15       Q Is there any requirement that you're            15   saying it was out of order. Once landing, captain
16   aware of, Mr. Lee, that United immediately inform     16   said that there was no water in the tanks.
17   you on an unannounced excellence review of what       17            More?
18   you've done wrong?                                    18      Q (By Ms. Martinez) Yes. It looks like
19       A I think it's courtesy of anything, you          19   there's a question asked of you. Is that a Q)?
20   know, as an employee, you know, and for the           20      A When did we indicate that the
21   situation.                                            21   lavatories were broke, I guess is what they're
22       Q Is there anything that requires United          22   saying. When the lady came out of it.
23   to tell you if you've done something wrong on that    23            Then it says, I -- We had little ground
24   actual flight?                                        24   time, rushed on, did our safety checks, and
25       A No; but not if you value your                   25   boarded.

                                            Page 167                                                   Page 169
 1   employees, no.                                         1       Q    So you wrote, A lady -- What does this
 2       Q Do you think that reviewing flight               2   say? First lady to --
 3   attendants in the air is a good idea?                  3       A    When a lady came out of it.
 4       A Oh, absolutely. I mean, it -- it --              4           But after thinking about it, it was
 5   For the company, it gives them an idea of what's       5   actually Jeannie that came out of it.
 6   going on in the air. And for the flight attendant,     6       Q    So you said that Mr. Dodge contacted
 7   it gives them the dos and don'ts.                      7   you, and that was the first you heard about your
 8       Q Do you understand that United may want           8   job performance on the September 20th flight,
 9   to review its flight attendants while they are on      9   right?
10   flights and not tell them they're being reviewed?     10       A    In a voice mail, yes.
11       A Please restate the -- the question.             11       Q    What did the voice mail say?
12       Q Do you understand that United may want          12       A    From what I can recall, that we had
13   to review its flight attendants while they are in     13   some adverse report from the unannounced excellent
14   the air and not tell them they are being reviewed?    14   review on you and that he was removing me from my
15       A If you're a problem flight attendant,           15   next trip.
16   yes. One with my record and Jeannie's record, no.     16       Q    Did you save that voice mail?
17       Q What about a flight attendant who's had         17       A    I had it for a while; but then I got a
18   a complaint come in about him or her?                 18   new phone, and I don't have it anymore.
19       A Such as, i.e., the individual coming to         19       Q    What did you do next?
20   Mark; is that what you're stating?                    20       A    After I got off the floor?
21       Q Well, you described exceptions in your          21           Tried to think of every reason --
22   rule as people who are problem flight attendants.     22   whatever reason there was why I was being called
23   Could that be someone who's had a complaint come in   23   in.
24   against them?                                         24       Q    Did it occur to you that watching a
25       A That could be someone that a complaint          25   video and having somebody come up behind and take a


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                                                   EXHIBIT 1
                                                                                          31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 16
                                     of 21




                                            Page 170                                                  Page 172
 1   photo of you might have been that flight?              1      Q      How long was that meeting?
 2       A No, it never even entered my mind.               2      A      I have no clue.
 3            I mean, when I say "everyone," like           3      Q      Did you take any notes?
 4   90 percent of the domicile and across the nation       4      A      Well, obviously, these right
 5   were all on their electronic equipment: jump seat,     5   here (indicating).
 6   passenger seat, whatever.                              6      Q      Well, that's -- Are those notes, or is
 7            So -- I'm sorry -- I did not know at          7   that a statement?
 8   that time that it wasn't allowed because everyone      8      A      Oh, we took the notes that --
 9   was on it.                                             9            Well, this (indicating) is -- this is
10       Q So what other older flight attendants           10   just what was given to me to write down. And they
11   were terminated pretextually for watching their       11   requested that I write down the question and then
12   personal electronic devices?                          12   write down my answer.
13       A I have no idea.                                 13      Q      Okay. Did anyone else besides those
14       Q What did you do next to find out what           14   individuals come in and out of the September 27th
15   the process should be?                                15   meeting?
16       A Pertaining to . . .                             16      A      Ms. Martinez, I don't -- I don't
17       Q You said that you got a call from               17   recall.
18   Mr. Dodge --                                          18      Q      Okay. Where was it?
19       A Oh, okay.                                       19      A      In- -- Inflight.
20       Q      -- and he left a voice mail. What          20      Q      How did the meeting open?
21   happened next?                                        21      A      For that answer, I have to think about
22       A I don't know. I -- I can't remember             22   this one.
23   if I called the union or what.                        23            Ken Kyle and I walked in. And Mark
24            I might have called Jeannie to see if        24   was, I believe, standing. And I don't know if he
25   she received the same thing and just told her about   25   gave me the excellence review first or what. But I

                                            Page 171                                                  Page 173
 1   what was happening to me. But I'm not totally for      1   think I remember him saying that I needed to sign
 2   sure what I did because shock was definitely there.    2   something confidentiality or something like that
 3       Q Did you call any other flight                    3   that I don't remember signing.
 4   attendants besides Ms. Stroup?                         4            And . . . And then everything just
 5       A No.                                              5   started, just become a blur.
 6       Q Why not?                                         6       Q     Do you remember anything else about
 7       A Because I was flying with Jeannie.               7   that meeting than what you've testified to?
 8       Q Do you recall having a conversation              8       A     Ms. Martinez, I -- you know, I was in
 9   with her?                                              9   such shock that I don't remember much. It just all
10       A As to detail, no. I know I probably             10   seemed so much like a blur.
11   spoke to her, yes.                                    11            And I just remember writing all this
12       Q Okay. What do you recall happening              12   stuff and trying to -- just trying to focus on
13   next in the process?                                  13   everything 'cause it just seemed so surreal.
14       A The first hearing.                              14            And that's basically what I remember of
15       Q Was there a September 27th meeting?             15   the first one.
16       A I believe that was the first one.               16       Q     How did the meeting end?
17       Q Okay. And that's the one where you              17       A     I think something was mentioned about a
18   wrote this statement, the Exhibit 28 we looked at,    18   follow-up hearing. I don't recall totally.
19   correct?                                              19            But I just remember leaving the room
20       A That was the very first hearing; yes,           20   and Ken saying something to me; as to the content,
21   that would have been it.                              21   I don't recall.
22       Q Who was present in that?                        22       Q     Okay. What is the next thing you can
23       A Oh, wow. Definitely Mark, Ken Kyle,             23   remember happening in the investigatory process
24   someone taking notes, and someone else from           24   after the September 27th meeting?
25   Inflight.                                             25       A     Hearing two, I think. It was either


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                                     303-721-1530
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 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 17
                                     of 21




                                           Page 178                                                   Page 180
 1   up a rebuttal or whatever he wanted to read at the    1           I just remember -- Well, he had to
 2   end of the last meeting.                              2   talk. I mean, he was running the meeting, so -- I
 3       Q     And then you met on November 5th?           3   don't -- As to the actual word for word or
 4       A     I believe that's the date.                  4   verbatim or whatever, I don't -- I don't know; I
 5       Q     Who was in that meeting?                    5   don't recall.
 6       A     That was the third meeting. It would        6           And then Dean took over.
 7   be Ken Kyle, Mark, Dean.                              7       Q What did Dean say?
 8       Q     So there were four of you total?            8       A Without even knowing me, he said: At
 9       A     Well, I think so, Ms. Martinez. I'm --      9   the end of the day, Ruben, I just have a picture --
10   I think so.                                          10   a vision of you looking at your iPad and our
11       Q     Did you audiotape any of that meeting?     11   passengers are suffering.
12       A     No, ma'am.                                 12       Q Did he say anything else?
13       Q     Where was it?                              13       A No.
14       A     Same place as the last one -- the last     14       Q Did you say anything in response?
15   two, in Inflight.                                    15       A No.
16       Q     Did you take anything with you into the    16       Q Did Ken Kyle say anything in that
17   meeting?                                             17   meeting?
18       A     I think what I remember was the            18       A No one said anything.
19   rebuttal I had -- I had written up for Dean and      19       Q Did Ken Kyle say anything on your
20   Mark, indicating that, you know, I was aware of      20   behalf in the November 5th meeting?
21   whatever actions and would stop doing whatever in    21       A Something about my record, I think, and
22   the future; something about my -- my -- my work      22   my years of service. I believe that's about it.
23   history, something along those lines.                23       Q Other than to read the statement, did
24           I don't know exactly -- I don't              24   you say anything during the November 5th meeting?
25   remember exactly what I had in that letter, but I    25       A No. It was my turn, I believe, to

                                           Page 179                                                   Page 181
 1   did read it at the end of the hearing.                1   talk. I mean, that's, you know, the conclusion. I
 2      Q     So you brought in a statement that you       2   mean . . . (Inaudible.)
 3   read to the three others during the November 5th      3            THE REPORTER: Pardon me?
 4   meeting?                                              4       A It was my turn to -- to talk.
 5      A     Yes.                                         5            I mean, Do you have anything to say? I
 6      Q     Did you bring anything else with you         6   believe that was what's -- what was said: Do you
 7   into the meeting?                                     7   have anything to say or to add?
 8      A     No, not anything that I can recall.          8            And that's when I read my
 9      Q     Did you take anything out of the             9   letter (indicating).
10   meeting?                                             10       Q (By Ms. Martinez) What is Ken Kyle's
11      A     I don't recall.                             11   position at United?
12      Q     How did that meeting start?                 12       A He is an AFA rep, flight attendant rep.
13      A     With Mark, I believe; and then it ended     13       Q He's the union representative?
14   with Dean.                                           14       A Uh-huh. One of the -- One of them.
15      Q     Was that November 5th meeting called        15       Q Does he have authority over whether or
16   anything?                                            16   not flight attendants such as yourself are fired?
17      A     I don't recall.                             17       A No.
18      Q     What do you recall happening in the         18       Q When is the last day for which you
19   November 5th meeting?                                19   received pay at United?
20      A     Mark talking. I remember a comment          20       A I don't remember the exact day,
21   that Dean said at the end. And that was about it.    21   Ms. Martinez, but I do -- To try to remember that,
22      Q     What did Mark say?                          22   it was -- had something to do with vacation pay.
23      A     Dean?                                       23       Q Okay. After you left that November 5th
24      Q     You said, I remember Mark talking.          24   meeting, what was your understanding of the
25      A     I remember Mark talking.                    25   process?


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 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 18
                                     of 21




                                           Page 182                                                    Page 184
 1       A     That we had to wait a certain amount of      1   Friday night after 6 o'clock, after business hours.
 2   time -- (inaudible) -- a certain amount of time --     2           And I was in my garage, and I got a
 3            THE DEPONENT: Excuse me.                      3   phone call from Ken.
 4       A     -- a certain amount of time for Dean to      4       Q     Who said what?
 5   render his result.                                     5       A     "Dean has decided to terminate you."
 6       Q     (By Ms. Martinez) Have you heard of          6       Q     Is that how he opened the call?
 7   the phrase "Letter of Decision"?                       7       A     Pretty much.
 8       A     Kind of, yes.                                8       Q     Did you ask him, What are my options?
 9       Q     Do you know what a Letter of Decision        9       A     Yes. And he said something about: You
10   is?                                                   10   can appeal it. It would be expensive; it would be
11       A     Offhand, no, ma'am.                         11   stressful; it could take a long time.
12       Q     Okay. So when you're referring to           12       Q     Did you say anything else during that
13   needing to wait time for Dean to render his           13   call with Mr. Kyle?
14   result --                                             14       A     Thinking back, I -- I -- I was in such
15       A     His dec- -- decision.                       15   shock and just disbelief. I had to tell my family;
16       Q     A decision about what?                      16   you know, I knew I had to tell my wife and . . . I
17       A     My job.                                     17   knew that wasn't going to go over well.
18       Q     Meaning, a decision about what to do        18           I just couldn't believe it.
19   with your employment?                                 19       Q     Do you recall anything else that was
20       A     A decision what he is going to do with      20   said during that call with Mr. Kyle?
21   us, period.                                           21       A     I don't recall at this time, no.
22       Q     Okay. And what were the different           22           (Exhibit 29 marked.)
23   things that he could have decided at that point?      23           THE DEPONENT: Can we take a break?
24       A     Suspension, termination.                    24           MS. MARTINEZ: Let me ask you a couple
25       Q     Were there any other options to him         25   of follow-up questions.

                                           Page 183                                                    Page 185
 1   besides suspension or termination?                     1       Q (By Ms. Martinez) What was the quote
 2      A      I don't know what Dean's options were,       2   that Mr. Kyle said to you? Was it Dean "has
 3   ma'am.                                                 3   decided" or "will decide"? What exactly did he
 4      Q      Did you ever ask Mr. Kyle what the           4   say --
 5   different types of decisions Mr. Whittaker may         5       A What I recall is --
 6   render after November 5th could be?                    6       Q -- Dean had done?
 7      A      I had either texted or e-mailed him --       7       A I'm sorry for interrupting.
 8   I believe it was text him -- a few times as to, had    8            He said, "Dean decided to terminate
 9   he heard anything yet, or he had some questions and    9   you." Okay. He also added, But I talked to him
10   stuff like that.                                      10   and asked him, could you resign?
11            But there wasn't really a lot of             11            And I think that's when the -- the part
12   communication between he and I other than those       12   about appeals came up, about being expensive, long,
13   texts and the phone call on the 15th.                 13   and stressful.
14      Q      So thinking back on those                   14            And I just remember it -- remembering
15   communications, did you and Mr. Kyle ever discuss     15   that if you do it by the 18th and -- then the
16   what were the different things that Mr. Whittaker     16   termination letter wouldn't go out on the 19th.
17   could do after November 5, 2013?                      17   I'm sitting here thinking, I have one day to do
18      A      Possible suspension; doubt termination,     18   what it takes most flight attendants six months to
19   with your record.                                     19   do.
20            That's basically what I remember other       20       Q Was his quote, Dean has terminated you,
21   than the conversation on the 15th.                    21   or Dean will --
22      Q      What do you recall about the                22       A "Dean decided to terminate you."
23   conversation on the 15th?                             23       Q So you knew when you hung up the phone
24      A      Wow. It know it was the last day, the       24   with Mr. Kyle that you had not been terminated,
25   15th -- after 15 days, whatever; but it was a         25   correct?


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                                                                                          31f2fa3d-12ee-4eb6-8b14-7b39f042ac6d
 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 19
                                     of 21




                                           Page 186                                                  Page 188
 1       A    At that point, yes, unless we retired        1   qualifies infractions as minor or major?
 2   by the 18th.                                          2      A     I think that would be up to the -- what
 3       Q    Did United ever terminate you?               3   type of infraction it is. I mean, a minor
 4       A    In writing?                                  4   infraction would be simply something like not
 5       Q    In writing.                                  5   wearing your apron.
 6       A    Other than the separation report that        6      Q     But is there anything at United --
 7   we received from Maive Moran days later.              7      A     No.
 8       Q    Did United ever terminate you?               8      Q     Let me finish my question, please.
 9       A    Yes.                                         9      A     I'm sorry.
10       Q    Did you submit your resignation before      10      Q     Is there anything at United that you
11   the termination?                                     11   are aware of that qualifies infractions between
12       A    I had no choice. I was either to            12   major and minor?
13   resign or be terminated. The termination letter      13      A     Not that I know of.
14   would go out that next day.                          14      Q     Is there anything at United that you're
15       Q    I'm asking about the timing. Didn't         15   aware of that qualifies infractions as trivial or
16   you submit your resignation before United            16   nontrivial?
17   terminated your employment?                          17      A     Not that I know of.
18       A    Once again, the termination had -- If       18      Q     Were you aware that Ms. Stroup was --
19   I did not resign by Monday the 18th, the             19           THE VIDEOGRAPHER: Sorry. I'm sorry.
20   termination letter was going out on the 19th.        20      Q     (By Ms. Martinez) -- e-mailing
21       Q    It's a yes-or-no question: Did you          21   Mr. Whittaker in November?
22   resign before the termination became effective?      22      A     November. After . . .
23       A    Yes.                                        23      Q     In between the time that you had your
24           MS. MARTINEZ: Let's take a break.            24   November 5th meeting and the time you submitted
25           THE VIDEOGRAPHER: The time is 1:52.          25   your on-line resignation form --

                                           Page 187                                                  Page 189
 1   We're going off the record.                           1      A Uh-huh.
 2           (Recess from 1:52 p.m. to 2:05 p.m.)          2      Q -- were you aware that Ms. Stroup was
 3           THE VIDEOGRAPHER: The time is 2:05.           3   e-mailing Mr. Whittaker?
 4   We're back on the record.                             4      A No.
 5      Q     (By Ms. Martinez) Mr. Lee, do you            5      Q Did you and Ms. Stroup talk in between
 6   understand that you are still under oath?             6   the November 5th meeting and when you submitted
 7      A     Yes.                                         7   your on-line resignation?
 8           THE DEPONENT: Excuse me.                      8      A I don't recall.
 9      Q     (By Ms. Martinez) You've been handed         9            (Exhibit 30 marked.)
10   what's marked as Exhibit 29 for identification. Do   10            THE DEPONENT: Thank you, Laurie.
11   you recognize that document?                         11      Q (By Ms. Martinez) Do you recognize
12      A     (Deponent examined exhibit.)                12   what's been handed to you as Exhibit 30?
13           Yes, I do.                                   13      A (Deponent examined exhibit.)
14      Q     What is it?                                 14            Yes.
15      A     It's a Performance Letter of Charge.        15      Q You've seen that form before?
16      Q     Did you receive that the first week of      16      A On the 18th.
17   October 2013?                                        17      Q Did you fill out that form?
18      A     I think it was dated on the 4th; yes,       18      A Yes.
19   on the 4th.                                          19      Q Did you fill out the date "11/18/13"
20      Q     Do you admit that you committed some of     20   that's the third line under Retirement Request
21   the disciplinary infractions that are listed in      21   Form?
22   this Letter of Charge?                               22      A (Deponent examined exhibit.)
23      A     (Deponent examined exhibit.)                23            Yes.
24           Some of them, yes.                           24      Q Did you complete this Retirement
25      Q     Is there anything at United that            25   Request Form at approximately 1:03 p.m. on Monday,


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 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 20
                                     of 21




                                            Page 202                                                   Page 204
 1       Q     (By Ms. Martinez) Did you say "Federal       1   out.
 2   Express"?                                              2      Q      I just want to know if you've ever seen
 3       A     I think Express -- Express Jets.             3   anything that looks like this letter that you were
 4           And I don't recall if I -- if I sent in        4   afraid would be sent out.
 5   an application for Fed Ex; I don't recall.             5      A      No.
 6       Q     Did you and Ms. Stroup coordinate any        6           (Exhibit 35 marked.)
 7   of your job searches?                                  7           THE DEPONENT: Thank you, Laurie.
 8       A     I -- I think the only one might have         8      Q      (By Ms. Martinez) I've handed you
 9   been Frontier 'cause my sister said they were          9   what's marked as Exhibit 35. Have you seen the
10   having an open house. And I think that's the only     10   grievance procedures set forth in Exhibit 35 before
11   one.                                                  11   today?
12       Q     Did you coordinate with Ms. Stroup to       12      A      (Deponent examined exhibit.)
13   apply for any of the same employers?                  13           Yes, I have.
14       A     No. I think I told her about the open       14      Q      When did you first see these?
15   house.                                                15      A      I believe it's some info that Ken had
16       Q     Please look at . . .                        16   given me, your rights as an employee, AFA.
17           (Exhibit 34 marked.)                          17      Q      Did he give those to you before the
18       Q     (By Ms. Martinez) -- Exhibit 34. What       18   November 5th meeting?
19   is Exhibit 34?                                        19      A      (Deponent examined exhibit.)
20       A     (Deponent examined exhibit.)                20           I don't recall.
21           "Ruben, PLEASE" . . . (Inaudible.)            21      Q      Did he give this to you before you
22           This is an e-mail to Dean on the 18th         22   submitted your resignation on November 18th?
23   confirming my notice -- no -- excuse me --            23      A      Yes, I believe so.
24   notification of retirement.                           24      Q      Is it true, Mr. Lee, that when you
25       Q     Is the bottom e-mail an e-mail that you     25   submitted your on-line resignation or retirement,

                                            Page 203                                                   Page 205
 1   sent to Dean Whittaker?                                1   whatever you want to call it -- when you submitted
 2       A      Yes, it is.                                 2   the November 18th form -- you were in between
 3       Q      So I notice it's signed by you at the       3   Subparagraphs A.2. and A.3. in the grievance
 4   bottom, but it's from Betti Lee.                       4   process?
 5       A      That's my sister. We own her computer.      5      A      (Deponent examined exhibit.)
 6       Q      Okay. So on November 21st, you              6           Under 3:
 7   e-mailed Dean Whittaker regarding the fact that you    7           Manager of Inflight Services or
 8   had submitted your retirement effective                8      designee shall, within fifteen . . . days
 9   November 18, correct?                                  9      after the close -- close of such hearing,
10       A      That is correct.                           10      issue a decision in writing -- in writing
11       Q      By the way, did you ever receive a         11      to the Flight Attendant and, unless
12   letter from United, including from Mr. Whittaker,     12      otherwise requested by him -- her or him --
13   terminating you on November 19th?                     13      excuse me -- to the LEC President . . .
14       A      No. That's why I'm asking for              14      Grievance Chairperson, MEC President . . .
15   something in -- in writing on those previous ones.    15      Grievance Chairman and Legal Department of
16            I was informed by my union rep, Ken          16      the Union.
17   Kyle, that he had spoken to Dean and had talked       17      Q      Do you need me to repeat the question?
18   about that he needs to retire by Monday or that       18      A      Please.
19   termination letter would definitely be sent out on    19      Q      Is it true that when you filled out the
20   Tuesday, the 19th.                                    20   form to have your retirement be effective
21       Q      Did you ever get such a termination        21   November 18, 2013, you were in between
22   letter?                                               22   Subparts A.2. and A.3. in the grievance procedures?
23       A      No. No, I didn't receive any               23      A      That is correct.
24   termination letter because, supposedly, had I         24      Q      You had not received a decision in
25   retired first, that termination letter would not go   25   writing from the manager, Inflight Services, as of


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                                                   EXHIBIT 1
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 Case No. 1:15-cv-01389-DDD-STV Document 67-1 filed 11/17/16 USDC Colorado pg 21
                                     of 21




                                            Page 206                                                   Page 208
 1   the time you submitted your resignation, correct?      1       A     No.
 2      A     Correct.                                      2       Q     Did the fact that you'd received the
 3           (Exhibit 36 marked.)                           3   assignment for modeling new uniforms come up during
 4           THE DEPONENT: Thank you, Laurie.               4   the investigatory process?
 5      Q     (By Ms. Martinez) You've been handed          5       A     No.
 6   what's marked as Exhibit 36. Do you recognize that     6       Q     The Paragraph 27 in your complaint
 7   document, sir?                                         7   refers to an emergency landing in 1974.
 8      A     (Deponent examined exhibit.)                  8       A     Uh-huh.
 9           Yes, ma'am.                                    9       Q     You were in an emergency landing as a
10      Q     What is it?                                  10   flight attendant in 1974?
11      A     This is the 2000 collective agreement        11       A     Uh-huh.
12   between United Air Lines and flight attendants.       12       Q     Yes?
13      Q     And was that in effect when you              13       A     Yes, ma'am.
14   separated from United?                                14       Q     Okay. And did that come up in the
15      A     Yes.                                         15   investigatory process in 2013?
16      Q     Your complaint references that you had       16       A     No.
17   a prestigious assignment of modeling new uniforms.    17       Q     Does that have anything to do with
18   When was that?                                        18   whether or not you're still employed at United?
19      A     Wow. Excuse me. In the '70s, I was           19       A     Whether or not that came up in the
20   asked to model one of three uniforms for              20   investigative . . .
21   United Air Lines for the flight attendants. It was    21       Q     I'm sorry. Does that emergency landing
22   a Stan Herman design.                                 22   have anything to do with whether or not you're
23           They used a courier to bring me my            23   still working for United?
24   uniforms so no one could see it. And I was flown      24       A     No.
25   to Chicago to model it, along with other flight       25       Q     Please look at what's Exhibit 18 in

                                            Page 207                                                   Page 209
 1   attendants -- out of Denver was Kathy Boytana -- in    1   front of you.
 2   front of Dick Ferris and the board of directors.       2      A      (Deponent examined exhibits.)
 3       Q When was that?                                   3           Whoops. I'm sorry. I'm not seeing 18.
 4       A I would say '74. I was still in                  4      Q      I can hand you an extra copy.
 5   New York; I was still flying out of New York.          5      A      Thank you.
 6       Q Does that assignment have anything to            6      Q      Sure. Do you recognize --
 7   do with whether or not you were separated from         7           And I'm only showing you Page 3 of
 8   United?                                                8   Exhibit 18 --
 9       A No.                                              9      A      Okay.
10       Q You were also a drummer in the                  10      Q      -- but do you recognize that letter?
11   Magnificent 7000 Roadshow?                            11      A      (Deponent examined exhibit.)
12       A Uh-huh.                                         12           Yes, ma'am.
13       Q Is that correct?                                13      Q      Did you receive that letter in
14       A Uh-huh.                                         14   approximately the third week of November 2013?
15       Q Yes?                                            15      A      Man, I'm really . . .
16       A Yes. I'm sorry. Sorry.                          16           (Deponent examined exhibit.)
17       Q And when was that?                              17           I'm really -- I really want to say
18       A '74 -- '73/'74.                                 18   yes; I would like to say yes.
19       Q Did your position as a drummer in the           19      Q      Do you not remember whether you
20   Magnificent 7000 Roadshow have anything to do with    20   received it?
21   whether or not you're still employed at United?       21      A      Oh, I -- I received it; but as to exact
22       A No, ma'am.                                      22   day or time, I don't recall.
23       Q Did the position of drummer in the              23      Q      Was it within a month or so?
24   Magnificent 7000 Roadshow come up during the          24      A      Of retirement?
25   investigatory process?                                25      Q      Yes.


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                                                   EXHIBIT 1
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